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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   NEWARK DIVISION

RACHELLE LESANE,

   Plaintiff,
                                                   CASE NO.: 2:19-CV-18131-SDW-LDW
-vs-
                                                   Judge: Susan D. Wigenton
EQUIFAX INFORMATION SERVICES,                      Magistrate Judge: Leda D. Wettre
LLC, EXPERIAN INFORMATION
SOLUTIONS, INC., ARS ACCOUNT
RESOLUTION, and EMERGENCY
PHYSICIANS OF NEW JERSEY, P.A.,

   Defendants.
                                              /


                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


         COMES NOW the Plaintiff, Rashelle Lesane (“Plaintff”), and the Defendant, ARS

Account Resolution Services, LLC (incorrectly named as ARS Account Resolution), and

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with prejudice, each claim

and count therein asserted by Plaintiff against the Defendant, ARS Account Resolution Services,

LLC only, in the above styled action, with Plaintiff and Defendant, ARS Account Resolution

Services, LLC, to bear their own attorney’s fees, costs and expenses.




{01656263;v1}
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         Respectfully submitted this 14th day of February, 2020.

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                                                   Resolution Services, LLC




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                              CERTIFICATE OF SERVICE

       I, MONICA M. LITTMAN, ESQUIRE, hereby certify that on this date I served a true
and correct copy of the foregoing electronically via the Court’s CM/ECF system on the
following:

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                                           /s/ Monica M. Littman
                                           MONICA M. LITTMAN
Dated: February 14, 2020
4837-1112-0564, v. 1




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